[EDITORS' NOTE:  THIS PAGE CONTAINS HEADNOTES. HEADNOTES ARE NOT AN OFFICIAL PRODUCT OF THE COURT, THEREFORE THEY ARE NOT DISPLAYED.] *Page 187 
In Banc.
This is a suit commenced by the plaintiffs for the purpose of enforcing the specific performance of an alleged contract. It is alleged that on the 5th day of December, 1914, and for a long time prior thereto, Edward Holman and Julia Holman were husband and wife, and that they continued to be husband and wife until the 3d day of December, 1920, when Edward Holman died; that Walter Jervis Holman and Guy Edward Holman were sons of Edward Holman by a former marriage, and that at the time of the making of the said contract to make mutual wills (which will be hereinafter referred to) by Edward and Julia Holman, and at the time of the execution of said mutual wills on the 5th day of December, 1912, Walter Jervis Holman and Guy Edward Holman were the only living children of Edward Holman, and, together with his wife, Julia Holman, his sole heirs at law; that Guy Edward Holman died on the 10th day of June, 1914, leaving as his sole heirs at law his widow and his son, Edward Guy Holman, a defendant herein; that Walter Jervis Holman died on the 23d day of June, 1921, leaving as his sole heirs at law his widow, now Mabel M. Osborn, and his four sons, namely, Walter Edward Holman, Herbert Merle Holman, Howard Bird Holman and Kenneth William Holman.
It is further alleged that on and prior to the 5th day of December, 1912, and at the time said contract to make mutual wills was entered into by Edward Holman and Julia Holman, and at the time of the execution of said wills, they, and each of them, owned a large amount of real and personal property situate in the county of Multnomah and state of Oregon, and that all of the property owned by Julia Holman had been given to her during her married life by her husband, Edward Holman; that while so the owners of said property, *Page 189 
Edward Holman and Julia Holman made and executed each with the other a contract, by the terms of which Edward Holman promised and agreed with Julia Holman that he would make and execute a will whereby he would devise and bequeath to her all the property, of every kind, which he might own or have an interest in at the time of his death, subject to a legacy of five ($5) dollars in favor of Hannah Cook, and a further legacy of five ($5) dollars in favor of Iris Whitney Lutz, and would further provide in and by said will that in the event that she, Julia Holman, should die before him, that all of the property, of every kind, which he might own or have an interest in at the time of his death would be by him devised and bequeathed to the parties designated in, and in the amounts and manner as set forth in, the said will of Edward Holman; that Julia Holman, by the terms of the said contract so entered into, and in consideration of the making of the contract by Edward Holman and of his promise to her to make such will as aforesaid, promised to and with Edward Holman that she would make and execute a will whereby she would devise and bequeath to him all the property, of every kind, which she might own or have an interest in at the time of her death, subject to legacies of five ($5) dollars each in favor of Hannah Cook, Iris Whitney Lutz, Frank Turman, and William Riley Reddick, and that she would further provide in said will that in the event that Edward Holman should die before her, all of the property, of every kind, which she might own or have an interest in at the time of her death, would be by her devised and bequeathed to the parties designated in, and in the amounts and manner as set forth in, the said will of Julia Holman, a copy of which is attached to plaintiffs' complaint. *Page 190 
It is further alleged that thereafter, in pursuance of and in compliance with the said agreement, Edward Holman and Julia Holman, on the 5th day of December, 1912, in the presence of each other, regularly executed their said will as set out below:
"In the Name of God, Amen. Know all men, that I, Edward Holman, of the city of Portland, in the state of Oregon, at the age of 62 years, being of sound and disposing mind and memory and not acting under duress, menace, fraud or undue influence of any person whomsoever, do make, publish and declare this my last will and testament, in manner and form following, to wit:
"First. It is my will, and I do order, that all my just debts and funeral expenses be duly paid and satisfied as soon as conveniently can be done after my decease.
"Second. I give and bequeath unto my wife's sister, Hannah Cook, the sum of five ($5) dollars.
"Third. I give and bequeath to my wife's niece, Iris Whitney Lutz, the sum of five ($5) dollars.
"Fourth. I give and bequeath to my wife, Julia Holman, all the rest, residue and remainder of my property, real, personal and mixed, of every name or nature, and wheresoever situate, to her own use and benefit.
"Fifth. In case my said wife shall not survive me or we should meet death in a common calamity, then it is my will that all of my said property and estate so as aforesaid bequeathed to my said wife shall go and in such case the same is hereby given and bequeathed to the Security Savings and Trust Company of Portland, Oregon, in trust nevertheless, to the following uses and purposes, that is to say, that it shall take, hold and manage the same, and invest and reinvest the same and the proceeds thereof, and out of the net income and profits:
"A. Pay to my son, Guy Edward Holman, a monthly allowance of two hundred ($200) dollars per month so long as he may live during the continuance of this trust. *Page 191 
"B. Pay to my wife's sister, Hannah Cook, and my wife's niece, Iris Whitney Lutz, each a monthly allowance of fifty ($50) dollars per month as long as they each shall live during the continuance of this trust.
"C. To at once upon receiving the same turn over and deliver all my jewelry, household furniture, statuary and books to my wife's sister, Hannah Clark, and my wife's niece, Iris Whitney Lutz, or the survivor of them, to their or to her own use and benefit, to be divided between themselves if both living, share and share alike.
"D. At the expiration of twenty-one (21) years from the time of my death, to distribute all of said property remaining in its possession and all accumulated rents, issues and profits to the said Guy Edward Holman, and to Walter Edward Holman, Herbert Merle Holman, Howard Bird Holman, Kenneth William Holman and Edward Guy Holman, my grandchildren, and to my son, Walter Gervis Holman, share and share alike, being one-seventh to each.
"E. It is my will and I direct that said trustee shall, as one of the expenses of executing said trust, pay over to my brother, Robert Holman, the sum of fifty ($50) dollars per month during his natural life.
"F. In case of the death of any of the beneficiaries of said trust before said final distribution, the share of said deceased beneficiary shall, upon said final distribution, be distributed pro rata among the surviving beneficiaries.
"G. Full, clear and accurate books of account of said trust shall be at all times kept by said trustee, which shall be open at all reasonable times to the inspection of the beneficiaries of the same, or their duly accredited agents or employees.
"And lastly, I nominate, constitute and appoint my said wife, Julia Holman, to be executrix of this, my last will, hereby revoking all other wills, legacies and bequests by me heretofore made, and declare this and no other to be my last will and testament, and request and direct that she be not required to give bonds. *Page 192 
"In witness whereof, I have hereunto set my hand, this 5th day of December, in the year of our Lord one thousand nine hundred and twelve. The words and figures `twenty-one (21)' put in before signing.
"Signed — Edward Holman. (Seal)
"The above instrument was at the date thereof signed, sealed, published and declared by the said Edward Holman as and for his last will and testament, in the presence of us who, at his request, and in his presence, and in the presence of each other, have subscribed our names as witnesses thereto.
                "Signed — Katherine O'Neil, Residing at Portland, Oregon.
                "Signed — Thos. N. Strong, Residing at Portland, Oregon."
"In the Name of God, Amen. Know all men, that I, Julia Holman, of the city of Portland, in the state of Oregon, of the age of 49 years, being of sound and disposing mind and memory, and not acting under duress, menace, fraud or undue influence of any person whomsoever, do make, publish and declare this my last will and testament, in manner and form following, to wit:
"First. It is my will, and I do order, that all my just debts and funeral expenses be duly paid and satisfied as soon as conveniently can be done after my decease.
"Second. I give and bequeath unto my sister, Hannah Cook, the sum of five ($5) dollars.
"Third. I give and bequeath to my niece, Iris Whitney Lutz, the sum of five ($5) dollars.
"Fourth. I give and bequeath to my half brother, Frank Turman, the sum of five ($5) dollars.
"Fifth. I give and bequeath to my half brother, William Riley Reddick, the sum of five ($5) dollars.
"Sixth. I give and bequeath to my husband, Edward Holman, all of the rest, residue and remainder *Page 193 
of my property, real, personal and mixed, of every name and nature, and wheresoever situate, to his own use and benefit.
"Seventh. In case my said husband shall not survive me or we should meet death in a common calamity, then it is my will that all of my said property and estate so as aforesaid bequeathed to my said husband shall go, and in such case the same is hereby given and bequeathed, to the Security Savings and Trust Company, Oregon, in trust nevertheless, to the following uses and purposes, that is to say, that it shall take, hold and manage the same and invest and reinvest the same and the proceeds thereof, and out of the net income and profits:
"A. Pay to Guy Edward Holman, son of my said husband, Edward Holman, a monthly allowance of two hundred ($200) dollars per month so long as he may live during the continuance of this trust.
"B. Pay to my sister, Hannah Cook, and my niece, Iris Whitney Lutz, out of said net rents and profits, each a monthly allowance of fifty ($50) dollars per month as long as they each may live during the continuance of this trust.
"C. To at once upon receiving the same turn over and deliver all my clothing, jewelry, household furniture, statuary and books to my said sister, Hannah Cook, and my said niece, Iris Whitney Lutz, or the survivor of them, to their or her own use and benefit, to be divided between themselves, if both living, share and share alike.
"D. At the expiration of twenty-one (21) years from the time of my death, to distribute all of said property remaining in its possession, and all accumulated rents, issues and profits, to the said Guy Edward Holman, and to Walter Edward Holman, Herbert Merle Holman, Howard Bird Holman, Kenneth William Holman, and Edward Guy Holman, grandchildren of my said husband, and Walter Gervis Holman, son of my said husband, share and share alike, being one-seventh to each. *Page 194 
"E. It is my will, and I direct, that said trustee shall, as one of the expenses of executing said trust, pay over to my brother-in-law, Robert Holman, the sum of fifty ($50) dollars per month during his natural life.
"F. In case of the death of any of the beneficiaries of said trust before said final distribution, the share of such deceased beneficiary shall upon said final distribution be distributed pro rata among the surviving beneficiaries.
"G. Full, clear and accurate books of account of said trust shall at all times be kept by said trustee, which shall be open at all reasonable times to the inspection of the beneficiaries of the same or their duly accredited agents or employees.
"And lastly, I nominate, constitute and appoint my said husband, Edward Holman, to be executor of this, my last will, hereby revoking all other wills, legacies and bequests by me heretofore made, and declaring this, and no other, to be my last will and testament, and direct and request that he be not required to give bonds.
"In witness whereof, I have hereunto set my hand, this 5th day of December in the year of our Lord one thousand nine hundred and twelve (The words and figures `twenty-one (21)' put in before signing).
"Signed — Julia Holman. (Seal)
"The above instrument was, at the date thereof, signed, sealed, published and declared by the said Julia Holman as and for her last will and testament, in the presence of us, who, at her request and in her presence, and in the presence of each other, have subscribed our names as witnesses thereto.
                 "Signed — Katherine O'Neil, Residing at Portland, Oregon.
                 "Signed — Thos. N. Strong, Residing at Portland, Oregon." *Page 195 
It is alleged that thereafter, on March 10, 1914, each of said persons made codicils to their respective wills, in language following:
"I, Edward Holman, do make the following codicil to my last will and testament of December 5, 1912:
"First. I do hereby amend said will by changing the name of Hannah Clark wherever it occurs therein to her correct name Hannah Cook.
"Second. I do hereby amend said will by changing the name of Walter Gervis Holman wherever it occurs therein to his correct name of Walter Jervis Holman.
"Third. It is my will and I do hereby direct that in case I shall survive my wife, my said trustee in said will mentioned shall pay and expend, either directly or through his guardian, for the benefit, maintenance, education and support of Robert Miller Ackley, now living with testator, the sum of fifty ($50) dollars per month until said child shall attain the age of 21 years, when they shall pay to the said Robert Miller Ackley the sum of one thousand ($1,000) dollars, hereby ratifying in all other respects my said last will and testament.
"Dated March 10, 1914.
"Signed — Edward Holman. (Seal)
"The above instrument was at the date thereof signed, sealed, published and declared by the said Edward Holman as and for a part of his last will and testament, in the presence of us who, at his request and in his presence, and in the presence of each other, have subscribed our names as witnesses thereto.
                 "Signed — Katherine O'Neil, Residing at Portland, Oregon.
                 "Signed — Thos. N. Strong, Residing at Portland, Oregon."
"I, Julia Holman, do make the following codicil to my last will and testament of December 5, 1912:
"First. I do hereby amend said will by changing the name of Walter Gervis Holman wherever it occurs therein to his correct name of Walter Jervis Holman. *Page 196 
"Second. It is my will and I do hereby direct that, in case I shall survive my husband, my said trustee in said will mentioned shall pay and expend, either directly or through his guardian, for the benefit, maintenance, education and support of Robert Miller Ackley, now living with testatrix, the sum of fifty ($50) dollars per month until said child shall attain the age of 21 years, when they shall pay to the said Robert Miller Ackley the sum of one thousand dollars ($1,000). Hereby ratifying in all other respects my said last will and testament.
"Dated March 10, 1914.
"Signed — Julia Holman. (Seal)
"The above codicil was, at the date thereof, signed, sealed, published and declared by the said Julia Holman as and for a part of her last will and testament, in the presence of us who, at her request and in her presence, and in the presence of each other, have subscribed our names as witnesses thereof.
                 "Signed — Katherine O'Neil, Residing at Portland, Oregon.
                 "Signed — Thos. N. Strong, Residing at Portland, Oregon."
It is alleged that, on the 3d day of December, 1920, Edward Holman died, and that Julia Holman filed in the circuit court of the state of Oregon for Multnomah county her petition, praying for the probate of the will of Edward Holman, and for letters testamentary; that she entered upon her duties as executrix of said will, and such proceedings were thereafter had that she filed her final account in the said estate, and on November 7, 1921, was duly discharged as such executrix.
It is stated that by the foregoing proceedings Julia Holman received all of the property owned by Edward Holman at the time of his death, except the bequests appearing in his will as follows: To Hannah Cook, *Page 197 
five ($5) dollars, and to Iris Whitney Lutz five ($5) dollars; that thereafter, in violation of the contract to make mutual wills so entered into by and between Julia Holman and Edward Holman as aforesaid, and in violation of the terms of such mutual wills, and in violation of and contrary to the terms of her promise to and with Edward Holman as aforesaid, Julia Holman revoked and annulled the will theretofore executed by her, and made and executed in due and legal form another will.
Upon the trial the evidence of plaintiffs showed the execution of the said wills at the same time, the death of Edward Holman at the time stated, and that his widow, Julia Holman, probated the will as alleged in plaintiffs' complaint and received in due course the properties provided for her therein. It was also made to appear that afterwards, as alleged in plaintiffs' complaint, Julia Holman revoked the said will so as aforesaid made by her.
There was produced in behalf of defendants the following testimony:
Iris Whitney Lutz, a niece of Julia Holman, testified, in answer to the following question:
"Q. Mrs. Lutz, I want to ask you about one specific incident. Do you recall the conversation, or perhaps not a conversation so much as a statement, made to you by Mr. Edward Holman either on the day he died or within a day or two of that time? A. It was the morning before he passed on. I was going through the hall into the bedroom where I was staying, sleeping, and Uncle Ted called me to him and said: `Iris, you will have to take care of Mamma. You know how she is; she will give away everything that she has. I don't care what she does with it after she passes on, but I don't want her putting her feet under somebody else's table'." *Page 198 
Again she testified, in answer to the following question:
"Q. Now, will you tell the court, please, the circumstances leading up to Mrs. Julia Holman's transfer of the assets of the undertaking business to Walter J. Holman? Perhaps I will make my question more specific. In the first place, who suggested that transfer? * * * A. I had quite — several conversations with her before she was quite willing to do it.
"Q. But what is the fact as to whether or not when it was done it was done happily? A. It was done freely and willingly, and I would say lovingly.
"Q. And how was it received by Walter Holman? A. In a very fine spirit.
                                *      *      *      *      *
"Q. Do you know anything about the value of the business at that time? Do you know whether or not there was any cash involved in that transfer? A. Yes.
"Q. How much money? A. There was $12,000 in the bank.
"Q. There was $12,000 in the bank in addition to the business? A. Yes.
"Q. Do you know approximately how much that business was earning at that time? * * * I don't mean exactly. A. Yes, I can give an approximate valuation.
"Q. What was it? A. I would say between twenty-nine to thirty thousand dollars a year.
"Q. Did you hear any discussion as to the amount of accounts that were transferred? A. Yes, I think there was about one hundred thousand dollars.
"Q. In accounts? A. In accounts.
                                *      *      *      *      *
"Q. Well, I would like for you to state just what was to be transferred, or what Mrs. Holman asked Mr. Strong to prepare, what instruments? A. A deed of gift.
"Q. Conveying this money and accounts and the assets of this business? A. * * * Yes."
                                *      *      *      *      * *Page 199 
J.G. Wilson, a witness produced by defendants, stated that he was a member of the bar of the supreme court of this state, and that there was a professional association between him and the attorney, Mr. Strong. He further testified:
"Q. Well, Mr. Wilson, what is the fact as to whether you acted as one of the legal representatives of Mrs. Julia Holman in connection with the probate of the estate of Edward Holman? A. I did.
"Q. At whose request? A. At Mr. Strong's request.
"Q. He being principal adviser of Mrs. Holman? A. Yes, that is correct.
"Q. And who was associated with you and Mr. Strong in that connection? A. Mr. Henri Labbe.
                                *      *      *      *      *
"Q. Mr. Wilson, I now call your attention to plaintiffs' exhibit `A,' which purports to be a will of Edward Holman, and plaintiffs' exhibit `B,' which purports to be a will of Julia Holman, and ask whether those are the documents to which you just referred in your testimony? A. Yes, these are the documents.
"Q. Do I understand that those documents, on the occasion of your visit to Mr. Strong's office, were produced together? A. They were there at the same time, and were before the counsel.
"Q. Was there any discussion at that time with respect to any connection between these two wills? A. No, there wasn't.
"Q. Was there any suggestion on the part of Thos. Strong or Mrs. Holman or Mr. Labbe or yourself as to whether there was any relationship of any kind between the two wills? A. No, other than that they were executed about the time Mr. and Mrs. Holman were contemplating a trip to South America, as I recall, and that is the only suggestion made in connection with it.
"Q. Was there any suggestion on the part of Mr. Strong or any one else that the wills imposed or created a trust upon the property of either party? A. No, there wasn't." *Page 200 
Albert Grutze, called as a witness for defendants, testified that he had been acquainted with Edward Holman, and that their acquaintance and association ran over a period of a number of years of mutual friendship that grew up between them. In answer to a question propounded by counsel as to the circumstances of a conversation that he had had with Edward Holman, he said:
"The circumstances were these: Many of you are acquainted with the form of Masonic room and anteroom. Ed Holman came in after the lodge was opened, and I happened to be in the anteroom and we were there together, and we started chatting about one thing and another, and he brought up the subject of his estate and his feelings. Mind you, Mr. Holman had talked to me several times before, through the results of advertising of trust companies that had been sent to him, and I imagine solicitation from what he told me at the time, and he went into the history of his interests in the undertaking business, and he had talked to me about that, also, before, because I knew Ed. Werline very well, I knew him at that time — he is dead now — I guess from the time I was five years old. Mr. Holman stressed particularly upon the frailty of human beings, and the changes in business conditions, and the most of business, and what people did, and all that sort of thing, and he finally said that he had been considering changing his will some, and considering appointing a trust company; and he says, `there is one thing I have made up my mind to, and that is that Mrs. Holman is very competent as a business woman, and after I go,' — he says, `I think I am going soon' — he says, `It is my desire that Mrs. Holman do as she sees fit with the estate.' He was very straightforward about that, as there was no ifs and ands about it. I was very much struck by that attitude, and we talked the whole situation over then from that standpoint, and I remember quite well that I mentioned the fact that Mrs. Holman was quite well along in years and the management of this property *Page 201 
that he mentioned to me might be a care and burden on her. I said, `There is always that point about it.' He said, `I am willing to run my risk on that.' He says, `There is no question in my mind about that at all, because she can hire her own people, and people she can get along with.' Then he says, `There has been a lot of people died around this town, and after they are gone, why, the situation in the family changes.' And he said, `Mrs. Holman can take care of distributing that estate to suit her wishes, and I am going to leave it to her.' He says, `That is my feelings, and that is the way I have arranged affairs.' And we talked over Mr. Lutz and Mrs. Lutz. I have been a friend of Mr. Lutz for, I think I first met him in 1918. I met him in lodge work. And Mr. Holman and I, as I have remarked several times, we talked several times about Mr. and Mrs. Lutz, because Mr. Lutz and I were friends. And I remember Mr. Holman telling me that when Mr. Lutz started to court his wife he didn't have much use for him."
In answer to a question, Mr. Oliver E. Lutz testified:
"As near as I can recollect, one of the Monday nights in October before he passed on in December, 1920, we were up at the house for dinner as was very often the case on Monday night, and Uncle Ted and I went to lodge together. I used to have my machine and take him with me, and on this Monday night, on the way down, I made the remark that we had a very good dinner, that I enjoyed it. * * * Mr. Holman made the statement that it was a good dinner, but that things didn't taste as good to him as they used to because everything seemed to taste sweet, due I presume to his claim of diabetes, and there was a small pause before anything more was said. I made no answer, and he said: `Oliver, if anything happens to me, it will be up to you and Iris to take care of Mamma. I am leaving everything to her, and she can do with it what she pleases after she is gone, but I want her to be well taken care of while she lives.'" *Page 202 
Mrs. Henrietta Cook, a sister of Mrs. Julia Holman, in answer to a question propounded, testified as follows:
"Q. Will you tell the court what Mr. Holman said to you at that time in connection with the transfers of his property, and so forth? A. Well, we were sitting on the porch, and I don't know just how the conversation came up. He said to me — well, I will just do the best I can on this because I can't remember every little thing that was said — but he said to me that the morning after he had deeded the Salmon street property to Mrs. Holman that he went into the office and Walter J. was there reading the Oregonian, and he had seen where that property had been deeded, and he said: `What property is this, Papa, that you have deeded to Mamma?' And he said: `Right here where we are standing, on this place. And from this on I intend to deed her everything I own, because — and she can do with it just as she pleases, because wills are sometimes broken, but deeds never.'"
The trial resulted in a decree for plaintiffs, from which the defendants have appealed.
This suit has to do with the married life of Julia Holman and Edward Holman, and the incident therein that during said time, namely, on the 5th day of December, 1912, they had executed their respective wills hereinbefore set forth, one in favor of the other. The contention is made by respondents that the said persons contracted with each other to the effect that each would make a will in favor of the other, as partly expressed in the terms of the wills; that such contract was in consideration of the promise of the other, and that by the terms of said agreement said wills should be irrevocable.
The question presented is as to the law controlling the character of evidence and measure of proof required before specific performance of such alleged *Page 203 
contract shall be found and decreed by a court exercising equitable jurisdiction, and the further question, "Has such contract been proven?"
There has been called to our attention the judicial expression of contemporary courts regarding causes submitted to them involving a similar question to that which is presented in the instant case. Indeed, the execution of simultaneous mutual and reciprocal wills, their construction and legal effect, is a subject about which there has been much judicial utterance. However, an examination of these precedents shows a contrariety of judicial opinion as to the law governing the measure of proof required in cases of this character, and further that each case is decided upon the peculiar facts therein presented.
The claim is made in this case that the wills themselves, considered in connection with the circumstances under which they were executed, together with the receipt of the bequest therein provided for, are sufficient to prove the agreement set forth in plaintiffs' complaint. There is no evidence of any express oral contract. May such contract be inferred from the evidence of all the circumstances introduced in evidence?
Anderson v. Anderson, 181 Iowa 578 (164 N.W. 1042), and similar in many respects to the present case, is cited by counsel for plaintiffs as illustrating and stating the law as contended for. In rendering its decision in that case, the court makes the following statement as to the law:
"That the two wills in this case were intended to be reciprocal can hardly be doubted, unless we are to discard all extrinsic evidence. Probably, since the wills bear different dates, the mere fact that each makes the other spouse the sole beneficiary would not, *Page 204 
of itself, be sufficient to indicate any agreement or understanding that the two instruments were to be mutual or reciprocal, for such wills might be executed without either party's knowing what the other had done in that respect. But we think there is no rule of evidence which excludes proof of facts tending to show that the husband and wife did not act each with the knowledge of the other; that the two wills were drawn by the same person at the same time and in identical terms and at the joint request or direction of both husband and wife; and that, although the dates of their execution differ by a few days, they were in fact executed in pursuance of a common understanding and purpose."
Quoting from Frazier v. Patterson, 234 Ill. 80 (90 N.E. 216, 27 L.R.A. (N.S.) 508, 17 Ann. Cas. 1003), the opinion states as follows:
"If evidence of a mutual compact is necessary in such case, that evidence is afforded by what the parties did. We can not see how the situation would be any different if witnesses had testified that they heard this husband and wife discuss what disposition they would make of their respective estates, and that they agreed with each other that they would make a joint will such as they did make. The fact that they made such will is satisfactory proof to our minds that it was done in accordance with their mutual compact to dispose of their property in this manner."
Further citations are Brown v. Johanson, 69 Col. 400 (194 P. 943); Hermann v. Ludwig, 186 A.D. 287, 229 N.Y. 544
(174 N.Y.S. 469, 129 N.E. 908); In re Weir's Estate, 134 Wash. 560
(236 P. 285); Harris v. Morgan, 157 Tenn. 140 (7 S.W.2d 53). The following distinguishing features are to be found in some of the cases cited:
In Brown v. Johanson, supra, the question involved was whether the respective wills, the subject of the controversy, there introduced in evidence, were *Page 205 
obnoxious to the provisions of § 2662, Revised Statute of the state, being the statute of frauds. The court says:
"No good purpose can be served by a detailed review of the evidence herein. Suffice it to say that, in our judgment, it warrants the finding of the trial court of the existence of the alleged oral agreement."
At page 471 of 174 N.Y.S., in the case of Hermann v. Ludwig, supra, the court points out that on the face of the joint will in question the testators declared "this, and this only, to be our joint and mutual will and testament." And, at page 479 of this authority, the court refers to the evidence of express declarations alleged to have been made at the time of the execution of the joint will, that "it was drawn in pursuance of an agreement that it should be irrevocable." In Hermann v.Ludwig, supra, the question determined was whether the wills were sufficient to admit oral evidence of the alleged oral contract. And in Weir's Estate, supra, a like question was presented.
It would unduly prolong this opinion to undertake an analysis of the many citations of authorities furnished the court by counsel. No useful purpose may be subserved thereby. Particularly is this true in view of the exhaustive review of the authorities on this subject heretofore given by this court in the case ofStevens v. Myers, 91 Or. 114 (177 P. 37, 2 A.L.R. 1155). The principle of law involved in the discussion is not a new one in this court. In the Stevens case reference is made to the case ofSappingfield v. King, 49 Or. 109 (89 P. 142, 90 P. 150, 8 L.R.A. (N.S.) 1066), wherein the court says the question arose out of the following facts:
"On February 1, 1897, plaintiff was the owner of the land in question, and her husband, John Sappingfield, *Page 206 
owned other property. Plaintiff at that time was 77 years old and her husband 87. Plaintiff was in poor health, and both she and her husband were desirous of making provision for the disposition of their property after their death, and, after consideration of the same for some weeks, on February 1, 1897, they went to Salem, and in the office of M.W. Hunt plaintiff duly executed a deed to John Sappingfield, her husband, for the land in question for the consideration of love and affection and the sum of one dollar, the operative words of which are, `have bargained and sold, and by these presents do bargain, sell and convey unto my husband. * * * This deed is made with the full understanding and upon the condition that the same shall take effect from and after the death of the said grantor herein, and it is understood and intended that this deed shall be recorded immediately after my death.'
"At the same time, and as a part of the same transaction, the husband, John Sappingfield, made a will, disposing of all his property, the second clause of which is as follows:
"`I hereby give and bequeath all the property of which I may die seized, to my wife, Mary Sappingfield, the same to be used by her during her natural life, and at her death I hereby direct,' etc."
Upon this state of facts, the court speaks as follows:
"The motion raises for the first time the question that the deed of plaintiff and the will of the husband are mutual and reciprocal wills based on a compact, and for that reason irrevocable. The most that can be said for these two instruments is that they are mutual and reciprocal, but each stands as an independent will unaffected by the other. Some authorities hold that in a case where such wills are executed in pursuance of an agreement based on a valuable consideration, after the death of one the will of the other is irrevocable; but in such a case the agreement must be certain and definite, and the court must have full and satisfactory proof of it. * * * *Page 207 
"In Gall v. Gall, 19 N.Y.S. 332, 64 Hun. 600, relating to an agreement for a specific devise, the court says:
"`It is certain, however, that in this class of cases the ordinary rules which govern in actions to compel the specific performance of contracts, and which furnish reasonable safeguards against fraud, should be rigidly applied. These rules require that the contract be certain and definite in all its parts, that it be mutual and founded upon an adequate consideration, and that it be established by the clearest and most convincing evidence.'
"In Edson v. Parsons, 155 N.Y. 555 (50 N.E. 265), a case of an agreement for reciprocal wills, it is said:
"`I think it needs no further argument to show that to attribute to a will the quality of irrevocability demands the most indisputable evidence of the agreement which is relied upon to change its ambulatory nature, and that presumptions will not, and should not, take the place of proof.'
"Here the evidence shows that plaintiff and her husband were getting quite old. Each owned separate property. The plaintiff had been quite sick, and it was arranged that they would have their wills made; and this deed and the will were the result. There is no testimony disclosing that any agreement was made between them as to the terms of the wills, or that one was to be the consideration for the other. There is nothing in the evidence to show that the wills were made in fulfillment of the terms of any contract or agreement."
The cases of Edson v. Parsons, 155 N.Y. 555 (50 N.E. 265);Howells v. Martin, 101 N.J. Eq. 275 (137 A. 565); Menke v.Duwe, 117 Kan. 215 (230 P. 1065); Wanger v. Marr, 257 Mo. 482
(165 S.W. 1027); Wallace v. Wallace, 216 N.Y. 28
(109 N.E. 872), are each in harmony with Sappingfield v. King, supra. The case of Wanger v. Marr, supra, overrules the case of Bower v.Daniel, 198 Mo. 325 (95 S.W. 347), which is sometimes cited as *Page 208 
authority for the proposition that the mere execution of reciprocal wills is evidence of a contract of irrevocability. Inre Burke's Estate, 66 Or. 252 (134 P. 11), the opinion being rendered by Mr. Justice McBRIDE, it was held that in a will contest the contestants can not try out in such proceeding "the question as to whether the wills were mutual and based upon an agreement that the survivor should leave his or her property to a particular person. Such an agreement is valid if performed by the making of such wills and the acceptance by the surviving party of the fruits of the agreement, but it is valid only as a contract, the performance of which by one party and acceptance by the other has taken it out of the statute of frauds."
The question in the instant cause was not involved — that is, the conclusiveness of the respective wills and their cross provisions as in themselves constituting evidence of a contract irrevocable in its nature. These authorities with unanimity hold to the doctrine that the existence and terms of the contract must be established by the most clear and satisfactory evidence. InEdson v. Parsons, supra, it is said:
"A general maxim, which equity recognizes, is that a testator's will is ambulatory until his death. It is a disposition of property which neither can, nor is supposed to take effect until after death. I think it needs no further argument to show that to attribute to a will the quality of irrevocability demands the most indisputable evidence of the agreement which is relied upon to change its ambulatory nature, and that presumptions will not, and should not, take the place of proof."
In respondents' brief, at page 78, is the statement that the court in Stevens v. Myers, supra, decided that the wills themselves in that case — being very similar in many of the aspects to this cause — when considered *Page 209 
in connection with the circumstances under which they were executed, were evidence of and showed the agreement between the testators so to dispose of their property. The statement is not clear as to the contention made. The wills in a given case may alone be sufficient, depending upon their terms. But the matter for the determination of this court is as to the rule of law to be applied to the facts in the matter under consideration. We have announcement thereof in Sappingfield v. King, supra. We turn to Stevens v. Myers to discover if in the course of that opinion there is any statement of the law therein contained which militates against Sappingfield v. King, supra. In a review by the court in Stevens v. Myers, of the authorities cited, among others was quoted that which appears in Edson v. Parsons, supra, and it is further said in the opinion set forth that said case was cited and approved by Mr. Justice EAKIN in the cause ofSappingfield v. King; and further in the opinion of Stevens v.Myers, the court makes announcement as follows:
"After again reading the testimony, carefully studying and examining the respective wills and rereading all of the authorities, and upon a further consideration of all of the surrounding facts and circumstances which obtained at the time the wills were executed, we are of the opinion that the wills in question were executed pursuant to an agreement and understanding between the deceased George T. Myers and Sally S. Myers; that there was a valid and mutual consideration for such agreement, and that in equity and good conscience the agreement should be enforced."
There is no intimation therein of an intention to disturb or in any way modify the rule of law heretofore adopted. *Page 210 
Respondents have objected to the admission in evidence of the alleged declarations of Edward Holman while in possession and exercising the right of ownership over the property, the subject of dispute. It must be kept in mind that there is no dispute about the terms of the wills. They are plain and unambiguous. But the dispute arises upon the allegation that the parties entered into a contract, either express or implied, that the wills, by reason of the contract as set forth in plaintiffs' complaint, should be irrevocable. These declarations would seem to be admissible under Or. L., § 706, as an admission which tends to show an inconsistency with plaintiffs' claim of ownership. Such seems to have been the rule adopted and practice followed in the cases of Sappingfield v. King, supra, and Stevens v. Myers, supra. Through the evidence herein submitted, we are in part made acquainted with the lives of Edward Holman and his wife, Julia. The witnesses, those who were acquainted with them, agree that they were a very congenial and happy married couple, giving evidence of great love for and confidence in each other. In the month of December, 1912, these people were preparing to take an extended ocean voyage. In contemplation thereof, they decided to execute their wills, and to assist them as legal adviser in connection therewith they employed Mr. Thos. N. Strong, a competent attorney. The result was the execution on December 5, 1912, of the documents in evidence which are the subject of the controversy in this proceeding. There has not been introduced in evidence any statement or declaration of either party to the execution of said instruments at said time or at any time thereafter, showing, or tending to show, that there was any purpose to enter into an agreement to the effect that these writings, or either of them so *Page 211 
made, should be irrevocable. Nor is there any evidence of any other disposition of their property, or of any attempt to dispose of the same except as stated in the terms of said wills. In view of the fact that a competent attorney attended to the matters pertaining to said business, and advised with them, this fact becomes a circumstance which is entitled to some consideration. It would seem that a matter of such importance as impressing upon the properties a trust, binding and conclusive for all time, and renouncing by each party a very valuable right, would have received some attention in the wills themselves, or, if not in the writings, then in a contemporaneous written agreement. There is the added fact that the same attorney assisted Mrs. Holman in the transaction wherein she conveyed to Walter J. Holman a 24/25 interest in the Holman undertaking business, being property embraced in said wills. This evidence tends to negative the statement or inference that Mr. Thos. N. Strong, the attorney, or Julia Holman, the client, was conscious that the properties so owned by Julia and Edward Holman had been impressed with the trust alleged through a contract by her made, and that her said will, by reason of an agreement made by her to that effect, was irrevocable. Their acts are inconsistent with such contract having been entered into. The declarations of Edward Holman hereinbefore referred to are equally inconsistent with the theory that said agreement as alleged in plaintiffs' complaint was made. For all that appears in evidence, the wills may have been made with no other thought in mind than as found expression in the documents executed by them. The evidence fails to satisfy the court by the degree of proof required by law that the contract set forth in plaintiffs' complaint and *Page 212 
relied upon in this cause has been proved. The evidence of plaintiffs is confined to the execution of the wills and the surrounding circumstances.
We have carefully considered the evidence, as well as all legal authorities cited, and are convinced that the decree sought by plaintiffs is unwarranted. The decree heretofore rendered by the trial court is reversed, and the plaintiffs' suit dismissed.
ROSSMAN, J., not sitting.